    Case 1:07-cr-00212-RJA-JJM         Document 668    Filed 11/03/10    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                   Plaintiff,

                                                                    ORDER
               v.                                                07-CR-212A

LAKEITH FOWLER,

                                   Defendant.


               The above-referenced case was referred to Magistrate Judge Jeremiah J.

McCarthy, pursuant to 28 U.S.C. § 636(b)(1)(B). On April 14, 2010, Magistrate Judge

McCarthy filed a Report and Recommendation, recommending that defendant Lakeith

Fowler's motion to suppress evidence seized from “The World is Yours”, a store located

in Dallas Texas, on May 2, and 4, 2007 be denied.

               The Court has carefully reviewed the Report and Recommendation, the

record in this case, and the pleadings and materials submitted by the parties, and no

objections having been timely filed, it is hereby

               ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons

set forth in Magistrate Judge McCarthy's Report and Recommendation, defendant

Lakeith Fowler's motion to suppress evidence seized from “The World is Yours”, a store

located in Dallas Texas, on May 2, and 4, 2007 is denied.

               The case is referred back to Magistrate Judge McCarthy for further

proceedings.
   Case 1:07-cr-00212-RJA-JJM   Document 668   Filed 11/03/10   Page 2 of 2




     SO ORDERED.

                                  s/ Richard J. Arcara
                                  HONORABLE RICHARD J. ARCARA
                                  UNITED STATES DISTRICT JUDGE

DATED: November 3, 2010




                                     2
